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                 Exhibit 3
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                                                                 Page 1

 1            IN THE UNITED STATES DISTRICT COURT

 2                 FOR THE DISTRICT OF MARYLAND

 3                      (Greenbelt Division)

 4   COLUMBIA GAS TRANSMISSION, :

 5   LLC d/b/a COLUMBIA PIPELINE:

 6   GROUP                               :

 7       Plaintiff                       : Civil Action No.:

 8              Vs.                      : 8:17-cv-01147-TDC

 9   JANET MALIN HAAS, ET UX             :

10       Defendants                      :

11                       --------------------

12

13              Deposition of ANDREW KVASNICKA, was taken

14   on Monday, August 28, 2017, commencing at

15   11:10 a.m., at Tenenbaum & Saas, 4504 Walsh Street,

16   Suite 200, Chevy Chase, Maryland, before MICHELE D.

17   LAMBIE, Notary Public.

18                     --------------------

19   ALSO PRESENT:      Mr. and Mrs. Haas

20

21   Reported By:      Michele D. Lambie, CSR-RPR




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 1 APPEARANCES:                            1            EXAMINATION INDEX
 2      ON BEHALF OF THE PLAINTIFF:        2
                                               ANDREW KVASNICKA
 3 ReedSmith, LLP.
                                           3    BY MR. ROST                        5
 4     MICHAEL S. DINGMAN, ESQUIRE.
                                           4
 5     mdingman@reedsmith.com.             5             EXHIBIT INDEX
 6     7900 Tysons One Place.              6          (Retained by Mr. Rost.)
 7     Suite 500.                          7                                MAR
 8     McLean, Virginia 22102.                 ANDREW KVASNICKA
 9     (703) 641-4323                      8   8 Right-Of-Way Agreement               7
                                           9   9 Minimum Guidelines                12
10
                                          10   10 PIG Report                    17
11
                                          11   11 Columbia Gas Transmission, LLC's      85
12      ON BEHALF OF THE DEFENDANTS:              Supplemental Response to Defendants'
13 Tenenbaum & Saas.                      12      First Set of Interrogatories
14     BRADSHAW ROST, ESQUIRE.            13   12 Pipeline Documentation            89
15     brost@tspclaw.com.                 14
16     4504 Walsh Street.                 15
                                          16
17     Suite 200.
                                          17
18     Chevy Chase, Maryland 20815.
                                          18
19     (301) 961-5300                     19
20                                        20
21                                        21
                                 Page 3                                                       Page 5
 1 APPEARANCES CONTINUED:                  1           PROCEEDINGS
 2      ON BEHALF OF THE DEFENDANTS:       2            ANDREW KVASNICKA,
 3 Law Offices of Leonard M. Murphy.       3 the Deponent, called for examination by the
 4     LEONARD M. MURPHY, ESQUIRE.         4 Defendants, being first duly sworn to tell the
 5     4405 East West Highway.             5 truth, the whole truth, and nothing but the truth,
 6     Suite 603.                          6 testified as follows:
 7     Bethesda, Maryland 20814.           7                EXAMINATION
 8     (301) 656-3802                      8        BY MR. ROST:
 9                                         9     Q. Would you state your name for the record,
10                                        10 sir?
11                                        11     A. Andrew Kvasnicka.
12                                        12     Q. And your current employment?
13                                        13     A. TransCanada Columbia.
14                                        14     Q. And what is your position there, sir?
15                                        15     A. Pipeline engineer.
16                                        16     Q. And how long have you been employed in
17                                        17 that position?
18                                        18     A. Off and on I've been with Columbia for
19                                        19 seven, seven years. I think you have my report --
20                                        20     Q. I do.
21                                        21     A. -- somewhere.

                                                                                  2 (Pages 2 - 5)
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 1     Q. I have your resume'.                                  1 on behalf of Columbia Gas to testify as to
 2     A. Yeah. I would ask that you refer to                   2 information known or reasonably available to
 3 that.                                                        3 Columbia with respect to the remaining subject
 4     Q. You don't have it memorized?                          4 areas; is that correct?
 5     A. No, I do not.                                         5    A. That's my understanding.
 6     Q. Okay.                                                 6    Q. Okay. So I assume that you have reviewed
 7     A. It's longer than I would like for it to               7 these, this deposition notice and the subject
 8 have been.                                                   8 areas?
 9     Q. Have you been deposed before?                         9    A. I have reviewed them.
10     A. No.                                                  10    Q. Okay. So now I'm directing your
11     Q. Well, in that case, I'll go over a few               11 attention to Exhibit Number 8. We can, hopefully,
12 ground rules with you.                                      12 all agree that that is the two-page operative
13     A. Okay.                                                13 right-of-way agreement that we're in litigation
14     Q. So as you've heard earlier, counsel may              14 over?
15 very well object to questions that I have. Let him          15    A. (Nodding head yes.)
16 make the objection. Let him finish the objection,           16         MR. DINGMAN: You have to respond.
17 and unless he instructs you not to answer it when           17         THE WITNESS: Yes.
18 he's done, you need to try to answer it. If you             18 BY MR. ROST:
19 forget the question because him and I have been             19    Q. Yes. And that's another ground rule.
20 talking too long, let me know, and I will rephrase          20 All questions need a yes or no answer. Facial
21 it. If you need a break at anytime, let me know,            21 nods --
                                                      Page 7                                                            Page 9
 1 and that's basically about it.                               1    A. Okay.
 2         You have read the right-of-way agreement             2    Q. -- and so forth don't translate for her.
 3 that we're in litigation over?                               3       One of the subject areas in the
 4     A. Actually, I received an email, and I                  4 deposition notice was to ask about who drafted this
 5 quickly scanned over it.                                     5 right-of-way agreement. Does Columbia Gas know the
 6     Q. When was that, sir?                                   6 answer to that question?
 7     A. I do not know the exact date.                         7    A. I do not know.
 8     Q. Was it in preparation for this                        8    Q. And what is the relationship between
 9 deposition?                                                  9 Columbia Gas and Atlantic Seaboard Corporation?
10     A. I believe at the time that I received the            10    A. I believe Columbia swallowed up Atlantic
11 email I didn't know I was being deposed.                    11 Seaboard Corporation at some time in the past.
12     Q. Okay.                                                12    Q. Do you know how long ago that was?
13         (Whereupon, Kvasnicka Deposition Exhibit            13    A. I do not know.
14 Number 8, Right-Of-Way Agreement, marked for                14    Q. But you have always worked for Columbia
15 identification.)                                            15 Gas, never for Atlantic Seaboard Corporation; is
16 BY MR. ROST:                                                16 that right?
17     Q. And, actually, before we get to Number 8,            17    A. That is correct.
18 I just, I have to ask you this question: With               18    Q. And as a pipeline engineer for Columbia
19 respect to the deposition notice here today, other          19 Gas, what is your, what is your general scope of
20 than the subject matters which your colleague,              20 responsibility and job obligations? What do you
21 Mr. Redd, just testified on, you're appearing here          21 do?

                                                                                                            3 (Pages 6 - 9)
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 1     A. I ensure that the gas gets to point A,                 1 over any internal procedures or policies that
 2 from point A to point B safely, and it is -- I do             2 Columbia Gas has?
 3 blow-down plans, purge calculations, equipment                3        MR. DINGMAN: Object to the form.
 4 costings.                                                     4        THE WITNESS: I don't understand the
 5     Q. And with respect to the gas line here                  5 question.
 6 that we're in litigation over, and I guess it had a           6        (Whereupon, Kvasnicka Deposition Exhibit
 7 number designation. What was it, MB 26?                       7 Number 9, Minimum Guidelines, marked for
 8     A. That is correct.                                       8 identification.)
 9     Q. Can you tell me where that line starts                 9 BY MR. ROST:
10 and where it ends?                                           10     Q. I will show you Exhibit Number 9,
11     A. I cannot.                                             11 Columbia Gas's Minimum Guidelines. Are you
12     Q. Okay. Do you have an approximate sense                12 familiar with this document?
13 as to where the line starts and goes to?                     13     A. Yes.
14     A. No. I'm drawing a blank. I cover North                14     Q. So on the bottom of the second column at
15 Carolina, Virginia, Maryland and parts of West               15 the end there it says, In the event that the
16 Virginia; many miles of pipeline.                            16 provisions of an applicable land rights document
17     Q. Have you yourself personally been                     17 conflicts with the requirements set forth herein,
18 involved in a situation before where Columbia Gas            18 the land rights document shall supercede these
19 has been embroiled in litigation over a property             19 requirements. Do you see that?
20 owner as to the, as to their respective rights and           20     A. Yes.
21 obligations under an easement agreement on their             21     Q. Do you understand what that paragraph,
                                                      Page 11                                                            Page 13
 1 property?                                                     1 what that sentence means?
 2    A. I would say yes.                                        2    A. What I gather from this, this is saying
 3    Q. How often? How many times have you been                 3 the land rights documents shall supersede.
 4 involved?                                                     4    Q. So is it not correct to state that
 5    A. I've -- less than ten.                                  5 Columbia Gas's policy is that the land rights
 6    Q. But you've never had to testify in any of               6 documents, such as this right-of-way agreement,
 7 those cases?                                                  7 would supersede any requirements that Columbia Gas
 8    A. I'm not well legally versed. I had to go                8 seeks to impose which are contrary?
 9 to court in Norfolk and talk to a judge. I don't              9    A. I don't know how to answer that. We're
10 know -- I'm sorry, I'm not legally versed.                   10 heavily regulated by the government, the Department
11    Q. Well, we'll take that as a plus, okay?                 11 of Transportation, Pipeline and Hazardous Material
12 You don't need to apologize for that.                        12 Safety Administration. They change their
13    A. I'm just trying to get the gas from point              13 requirements on us often.
14 A to point B safely, protect the environment.                14       The Code of Federal Regulations Title 49,
15    Q. All right. Well, it sounds like you were               15 Part 192, I mean, there's additions all the time,
16 in court once in Norfolk before a judge. I                   16 so my personal opinion is that if the government
17 understand the answer.                                       17 requires us to do something, that might supersede a
18       Now, Columbia Gas, when they're dealing                18 right-of-way agreement.
19 with these right-of-way agreements, is it Columbia           19    Q. All right. Well, I appreciate you
20 Gas's position that the written document with the            20 qualifying that with your personal opinion. You do
21 land order, with the land owner takes precedent              21 understand you're here as a corporate

                                                                                                          4 (Pages 10 - 13)
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 1 representative.                                              1 BY MR. ROST:
 2        And so the question, again, is, On behalf             2    Q. Can we agree, I guess, from everything
 3 of the corporation, is it not correct to state that          3 that I have read that this particular pipe was
 4 the corporation's policy is that the land, the land          4 installed in 1955? Does that sound right to you?
 5 rights document will supersede any internal                  5    A. I believe it was the 50's.
 6 requirements or procedures that Columbia Gas might           6    Q. And has this particular pipe in the area
 7 have in effect with respect to the particular                7 located on the Haases' property, has it been
 8 right-of-way agreement?                                      8 previously dug up or physically -- well, it would
 9        MR. DINGMAN: I'm going to object to the               9 have to be dug up to be physically inspected since
10 form of the question.                                       10 it was initially installed in '55?
11        THE WITNESS: I'm going to have to say I              11    A. I'm not aware that it's been excavated.
12 don't know.                                                 12    Q. And do you know what, what the pipe is
13 BY MR. ROST:                                                13 made out of?
14    Q. What -- and you started giving this                   14    A. Steel.
15 answer, but what regulatory bodies does Columbia            15    Q. It's steel. How do you know that?
16 Gas have to answer to, if you will?                         16    A. Documents.
17    A. Department of Transportation.                         17    Q. Which documents?
18    Q. And is that the agency that promulgates               18    A. Everything is electronic. I have the
19 the CFRs that you have cited in your papers?                19 report. It's a GIS report, and --
20    A. Yes.                                                  20    Q. I'm sorry, what does GIS stand for?
21    Q. And are you aware of any provisions in                21    A. Geographical Information System. It's an
                                                     Page 15                                                        Page 17
 1 the CFR, which I gather you're pretty familiar               1 internal, and I printed the page that encompasses
 2 with; is that correct?                                       2 this area, and it's, you know, 26-inch steel pipe.
 3     A. Parts of it.                                          3    Q. You say you printed a page?
 4     Q. Well, the ones that affect your job?                  4    A. Yeah.
 5     A. Yes.                                                  5    Q. Is that the page?
 6     Q. Let me rephrase the question. You're                  6    A. I -- no. That is --
 7 very familiar with the portions of the CFR which             7    Q. We'll mark this.
 8 impact upon your job responsibility to make sure             8    A. May I see this? My eyes aren't as good
 9 that gas gets from point A to point B safely?                9 as they used to be.
10     A. I try to be, yes.                                    10       (Whereupon, Kvasnicka Deposition Exhibit
11     Q. Okay. And are there any -- is there any              11 Number 10, PIG Report, marked for identification.)
12 provisions in those regulations which impose any            12 BY MR. ROST:
13 specific obligation upon the landowner as opposed           13    Q. You said you printed a page. This was a
14 to Columbia Gas?                                            14 page that was stuck in the document production that
15        MR. DINGMAN: I'm going to object to the              15 we received, so I was just curious, is this the
16 form of the question. I think this is outside the           16 page that you were referring to?
17 designated areas, so I'll allow him to answer               17    A. No. This is a page, a screen shot of an
18 personally, if you can.                                     18 in-line inspection tool report.
19        THE WITNESS: I think the Department of               19    Q. All right. We'll come back to this then.
20 Transportation instructs the pipeline operator, not         20 So you have some sort of electronic document, a
21 the landowner.                                              21 GIS, GIS report, which contains information about

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 1 this pipe, of which one of them is that it's steel?           1 designee, let me be clear on the answer.
 2     A. Yes.                                                   2       Is Columbia Gas aware of any reports from
 3     Q. Is that a document that you're able to                 3 any inspectors who fly these airplanes advising
 4 produce to me at some point?                                  4 Columbia Gas that they're unable to complete their
 5     A. I believe so.                                          5 inspection due to the presence of the tree?
 6     Q. Were you involved in any way in, in the                6    A. Again, I am not aware of a specific
 7 clearing operation that started in late 2016 and              7 report. I know that the pilots fly it. I know
 8 went on in 2017, which is, which has precipitated             8 that the pilots make notations of encroachments and
 9 this litigation?                                              9 the GPS locations and that those reports get
10     A. No.                                                   10 disseminated to operations managers.
11     Q. Have you actually been to the, the                    11    Q. But sitting here today, you have no
12 Haases' property and seen the, seen the tree and             12 knowledge of whether any of those reports have
13 walked the right of way there?                               13 identified the red maple tree on the Haases'
14     A. No.                                                   14 property as an impediment to a visual inspection
15     Q. Let's talk about the inspections that are             15 from the air?
16 done for purposes of ensuring the, as you so                 16    A. The aerial reports do not get
17 eloquently put, making sure that the gas gets                17 disseminated to the pipeline engineer, and I am the
18 safely from point A to point B.                              18 pipeline engineer.
19         There are -- there are physical                      19    Q. I'm going to try this once more.
20 inspections of the ground conducted either by                20    A. Okay.
21 aerial or walking; is that correct?                          21    Q. But sitting here today as a designee for
                                                      Page 19                                                       Page 21
 1    A. Yes.                                                    1 Columbia Gas, you are not aware of any such
 2    Q. And with respect to this particular right               2 reports?
 3 of way on the Haases' property, how have the                  3    A. Again, the reports don't get disseminated
 4 inspections, how have those inspections been done?            4 to the pipeline engineer, and I'm the pipeline
 5    A. It's flown.                                             5 engineer.
 6    Q. Flown you said?                                         6    Q. Does Columbia Gas have any written
 7    A. (Nodding head yes.)                                     7 reports from pilots indicating that they have been
 8    Q. And how long has that been the process?                 8 unable to inspect the pipe due to the Haases' red
 9    A. Since I've been with Columbia.                          9 maple tree? It's either yes or no or I don't know.
10    Q. And are you aware of any reports that                  10    A. I don't know.
11 Columbia has been unable to inspect the pipeline as          11    Q. Okay. Now, both the CFR regs and the
12 a result of the tree being there based upon the              12 internal documents that were produced to us from
13 aerial surveillance?                                         13 Columbia Gas also provide for walking inspections
14         MR. DINGMAN: I'm just going to object to             14 of the, of the pipeline also; is that correct?
15 the form.                                                    15    A. Yes.
16         THE WITNESS: Specifically or generally?              16    Q. And, in fact, Columbia Gas's own internal
17 BY MR. ROST:                                                 17 records indicates that with an aerial
18    Q. Specifically with respect to the Haases'               18 reconnaissance, if I can use that, I don't think I
19 tree.                                                        19 have ever used that phrase before, as a result of
20    A. I have not seen the report. No, sir.                   20 the aerial reconnaissance, they're unable to
21    Q. Well, let me -- because it's a corporate               21 inspect the pipe due to the tree, that walking the

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 1 site is a viable alternative for that type of                1    A. The personnel on foot, they do not have
 2 inspection; is that correct?                                 2 IR. They do have an electronic sniffing device.
 3    A. Yes.                                                   3    Q. Does the electronic sniffing device have
 4    Q. And are you -- is Columbia Gas                         4 a name, or do I just call it the electronic
 5 maintaining in this litigation or taking the                 5 sniffing device?
 6 position that they are unable to have an inspector           6    A. Well, there's different brand names --
 7 physically walk the right of way for a visual                7    Q. Okay.
 8 inspection of the property?                                  8    A. -- and so I only know them by brand
 9    A. I don't know.                                          9 names.
10    Q. Now, in terms of the purpose of a visual              10    Q. All right. So then if I understand you,
11 inspection of the site, what would someone see that         11 the blowing gas can either manifest itself visually
12 would indicate to you that there's an issue with            12 because of debris being sent up or this equipment
13 the pipe that needs to be further investigated?             13 can detect the odor of the gas in the air?
14    A. Well, one indication is blowing gas.                  14    A. It's not an odor. It's the presence.
15 Another indication may be dead vegetation.                  15    Q. Presence, okay. Is it an odorless gas?
16    Q. Well, I think I understand blowing gas.               16    A. It is.
17 I mean, like a geyser coming out of the ground sort         17    Q. See how ignorant I am. I didn't even
18 of like?                                                    18 know that. And then dead vegetation was the other
19    A. It may not be that significant.                       19 example you gave, which clearly a walking
20    Q. Okay. You'll have to bear with me                     20 inspection would reveal?
21 because I am truly a layman when it comes to                21    A. In certain times of the year.
                                                     Page 23                                                        Page 25
 1 natural gas and pipes. I understood it to be a               1    Q. Certain times of the year. Explain that
 2 colorless gas; is that right?                                2 to me.
 3    A. Yes.                                                   3    A. I don't think you're going to notice that
 4    Q. So if it was escaping from the pipe, it                4 dead vegetation in January.
 5 would, would it come up through the ground, through 5             Q. Okay. So whether it's aerial or walking,
 6 the surface and make it --                                   6 it's the same?
 7    A. It would -- it would follow the path of                7    A. That's why the aerial relies on
 8 least resistance.                                            8 instrumentation.
 9    Q. And so you could actually maybe see                    9    Q. Does Columbia Gas use walking inspections
10 debris being shot out because of the gas coming up? 10 at any of its right of ways that you know of?
11    A. That has occurred.                                    11    A. I'm sure we do.
12    Q. Okay. Other than debris being shot up                 12    Q. And why are you sure you do?
13 from the gas, how else could you tell that gas was          13    A. I have observed it.
14 coming up from an aerial inspection?                        14    Q. And what are the circumstances that would
15    A. The helicopters have sensitive electronic             15 dictate that Columbia Gas uses a walking
16 instrumentation. They sniff for methane, and they           16 inspection, a walking inspection versus an aerial
17 also look for an IR signature.                              17 inspection?
18    Q. IR standing for?                                      18    A. Proximity to an airport.
19    A. Infrared.                                             19    Q. Any other?
20    Q. Okay. And is that equipment that can                  20    A. That's the only one that comes to mind.
21 also be used in a walking inspection?                       21    Q. Have you yourself personally been

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 1 involved in any, any excavation of pipes for repair          1 ability to conduct close interval testing has been
 2 or maintenance which required the removal of a tree          2 impede, impeded by the presence of the maple tree.
 3 in advance of accessing the pipe?                            3    A. We're a large company. There's a
 4    A. Yes.                                                   4 corrosion department that's in charge of the
 5    Q. How often?                                             5 pipe-to-soil potentials, reading at the test
 6    A. Once a year.                                           6 stations, as well as close interval surveys. I
 7    Q. And were those emergency situations where              7 don't see the results or evaluate the results of
 8 there was an ongoing leak, or was it due to other            8 their findings. I know that it occurs.
 9 reasons?                                                     9        I know from personal experience that you
10    A. It was the result of an in-line                       10 have to run the wire directly above the pipe. So
11 inspection tool that indicated we had an issue.             11 if the tree is directly above the pipe, it
12 There was no leak.                                          12 interferes, but I have not seen the report. It
13    Q. Okay. We'll come back to that. So how                 13 doesn't get disseminated to the pipeline engineer.
14 does the tree currently then interfere with the             14    Q. Okay. Well, again, you're here as
15 ability to inspect the pipeline?                            15 Columbia Gas's designee --
16    A. It prevents aerial inspections.                       16    A. Yes, sir.
17    Q. That's it, right?                                     17    Q. -- so my question is, again, Sitting here
18    A. Yes. It may also interfere with close                 18 today, Columbia Gas is not able to tell me that
19 interval surveys.                                           19 they have any written report indicating that the
20    Q. I wanted to ask you about that. What                  20 presence of the maple tree interferes with close
21 exactly is a close interval survey?                         21 interval testing?
                                                     Page 27                                                          Page 29
 1    A. Measuring the pipe-to-soil potentials                  1    A. I don't know.
 2 directly above the pipe.                                     2    Q. Do you know whether or not the tree, in
 3    Q. The pipe to soil did you say?                          3 fact, sits on top of the pipeline or two feet off
 4    A. The pipe-to-soil potentials.                           4 to the side?
 5    Q. And is that test done to determine                     5    A. I received an email that has the GPS
 6 whether the cathodic protection is --                        6 coordinates of the tree, and those coordinates
 7    A. It evaluates the cathodic protection.                  7 coincide with the coordinates on this PIG data that
 8    Q. That's the sole purpose of the test?                   8 says that there's a tap at the 12 o'clock position
 9    A. Yes.                                                   9 on the pipe. So that would lead me to believe the
10    Q. And in this particular instance, has this             10 tree is directly on top of the pipe.
11 tree, in fact, interfered with that testing?                11    Q. Is there any way to actually measure the
12    A. I don't know.                                         12 location of the pipe in relationship to the, to the
13    Q. So sitting here today, Columbia Gas has               13 tree that is more definitive or accurate?
14 no record or any report from any employee advising 14             A. Sure. We could dig it up.
15 them that their ability to conduct close interval           15    Q. Is there any other way to do it?
16 testing has been impeded by the presence of the             16    A. I imagine it could be surveyed.
17 maple tree?                                                 17    Q. What does that mean, to be surveyed?
18    A. Can you repeat that?                                  18 What's, what's involved with that?
19    Q. I'm just trying to confirm based upon                 19    A. We would have a civil engineering firm
20 your prior answer that sitting here today we don't          20 survey the pipe.
21 have any knowledge or evidence that Columbia's              21    Q. How would they locate the exact location

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 1 of the pipe?                                                   1 an issue with those, then a CIS is done.
 2    A. You would spot the pipe adjacent to the                  2    Q. What does CIS stand for?
 3 tree.                                                          3    A. The close interval survey.
 4    Q. I don't know what that means, spot the                   4    Q. Oh, okay. All right. Now, I'm a little
 5 pipe adjacent to the tree. How would they locate               5 confused. I thought the close interval survey was
 6 the pipe?                                                      6 the --
 7    A. It's my understanding the pipe goes in a                 7    A. It's measuring the pipe to soil, but at
 8 straight line through this property, so you would              8 close intervals. A pipe to soil, we have test
 9 uncover the pipe before and after the property and             9 stations on the pipe --
10 connect the dots. If the tree is in the middle,               10    Q. Okay.
11 then the tree is directly above the pipe.                     11    A. -- scattered throughout --
12    Q. Is there no technology that you're aware                12    Q. So you're -- I'm sorry to interrupt you.
13 of that enables someone to actually measure the               13 So you're saying that if the readings from a test
14 exact location of the pipe without having to do any           14 station indicate an issue, then you conduct the
15 digging?                                                      15 close interval surveys closer or down the
16    A. What do you mean by exact?                              16 pipeline --
17    Q. That would provide you with sufficient                  17    A. Yes.
18 information that you're confident beyond a                    18    Q. -- on a, on a smaller interval?
19 reasonable doubt that you know the exact location             19    A. Yes.
20 of the pipe in relationship to the tree.                      20    Q. Okay. And do you know where the test
21    A. Exact is putting my eyes on it. I mean,                 21 station, the closest test station is located for
                                                       Page 31                                                         Page 33
 1 there's electronic devices that will locate the                1 this particular tree?
 2 approximate location of the pipe, but I don't think            2    A. I learned today that it's near a fence
 3 that's exact. It may be sufficient, but I don't                3 adjacent to their property.
 4 think it's exact.                                              4    Q. Right. And do we have -- does Columbia
 5    Q. What are those electronic devices?                       5 Gas have any reports from those testing stations,
 6    A. Again, I got brand names. The Metrotech                  6 from that testing station indicating that there may
 7 810.                                                           7 be an issue?
 8    Q. Does Columbia Gas own or have access to                  8    A. I know that we have reports from the test
 9 those types of electronic devices?                             9 station, because they're read annually. I do not
10    A. Yes.                                                    10 know the results of those reports.
11    Q. And have they been used for purposes of                 11    Q. Is there any reason why we can't get
12 locating the pipe that's on the Haases' property?             12 copies of those reports?
13    A. I would have to say I assume so. I do                   13    A. Not that I'm aware of.
14 not know, and I don't know if the pipeline is in              14    Q. Hold on a second here.
15 that location using the Metrotech 810, but they               15          (Whereupon, there was a pause for
16 would use a similar device, if not that device.               16 document examination.)
17    Q. And how often -- is there an established                17          THE WITNESS: Am I allowed to make notes
18 procedure for how often the close interval testing            18 of things that I need to get for future --
19 is done?                                                      19 BY MR. ROST:
20    A. It's a result of the annual pipe-to-soil                20    Q. Counsel and I will follow up on that,
21 potentials taken at the test stations. If there's             21 okay?

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 1    A. Yes, sir.                                               1 PIG, and it's a -- for a 26-inch pipe, it's a big
 2    Q. So don't stress about that.                             2 device.
 3    A. Yes, sir.                                               3    Q. So when you do this once every, once
 4    Q. I appreciate you asking, though. Okay.                  4 every seven years, you're actually sending several
 5 So we have aerial or walking surveys. We have the             5 devices down the pipe?
 6 close interval testing at the test station, and               6    A. Yeah.
 7 then, if I understand correctly, there's another              7    Q. How long has this technology been
 8 test that's done called PIG'd every seven years I             8 available for?
 9 think I read somewhere.                                       9    A. I guess it's an evolution. Cleaning
10    A. Yes.                                                   10 PIGs, ever since there were pipelines. Smart PIGs,
11    Q. So tell me about that process, that                    11 ever since I've been working.
12 testing process. What is that?                               12    Q. Okay. And where does the smart PIG get
13    A. A PIG, it's basically a computer that we               13 inserted in the pipe?
14 shoot through the pipeline, and it evaluates the             14    A. It gets inserted in a launcher and gets
15 pipe from the inside out.                                    15 taken out in a receiver. It's pipeline geometry.
16    Q. Is it -- and how does it traverse down                 16 It depends on -- most of the time the launchers and
17 the pipeline? Is it motorized?                               17 receivers are located at compressor stations --
18    A. The gas pressure pushes it.                            18    Q. Okay.
19    Q. Okay. So it's some sort of electronic                  19    A. -- but they don't have to be.
20 device, and it takes readings as it goes through             20    Q. Okay. But this particular pipe has a
21 the pipe?                                                    21 point of ingress and egress on the pipeline along
                                                      Page 35                                                          Page 37
 1    A. Yes. I mean, it, it looks like a big                    1 somewhere --
 2 torpedo. It's very sophisticated, very expensive.             2    A. Yes.
 3 It's common girth welds. It's looking for wall                3    Q. -- that you can insert this?
 4 thickness, wall loss on the outside of the pipe,              4    A. It has to.
 5 wall loss on the inside of the pipe, crack-like               5    Q. Yeah. Well, it's sort of an obvious
 6 indicators.                                                   6 question, I guess. Well, I guess you're not
 7    Q. Is it as big as this conference table?                  7 digging up the pipe to, in order to insert the PIG,
 8    A. For a 26-inch pipe, yeah.                               8 right?
 9    Q. Bigger?                                                 9    A. That's correct. Well, I take that back.
10    A. The smart PIG. There's a cleaning PIG, a               10 I do know of one pipe in Virginia where there was
11 gauge PIG and a smart PIG. The cleaning PIG,                 11 no permanent launcher and receiver, and for
12 self-explanatory; cleaning. The gauge PIG is a               12 whatever reason, they blew the line down, excavated
13 large apparatus that has the flexible geometry of            13 it, created a temporary launcher at one end and a
14 the smart PIG.                                               14 temporary receiver at the other, pressured
15       So before you put a $4 million computer                15 everything back up, and then after all of that
16 in the pipe, you put something a little bit cheaper          16 removed the launcher and receiver. I don't know
17 to make sure that the 400, $4 million computer               17 why.
18 doesn't get stuck.                                           18        MR. DINGMAN: Can we go off the record
19       So you clean it, and then the gauge PIG,               19 for just a second?
20 or some people call it a GEO PIG for geometry, and 20                  MR. ROST: Yes.
21 then if you have no issues, you go with the smart            21        (Recess taken -- 11:53 a.m.)

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 1          (After recess -- 11:53 a.m.)                    1     Q. I guess the entire report is for the
 2 BY MR. ROST:                                             2 entire length of the pipeline?
 3    Q. Does the -- what do you call it? Does              3     A. Yeah. It's (indicating).
 4 the --                                                   4     Q. Yes. And this --
 5    A. Metrotech 810.                                     5     A. It's several inches thick.
 6    Q. 810 measure the depth of the pipe?                 6     Q. Okay. Thank you. And this page that has
 7    A. It does have an LED readout, and it does           7 been produced to us because this what, relates just
 8 show you inches. But I've known them to be               8 to the pipe on the Haases' property?
 9 unreliable, and I do not know of anyone that relies      9     A. Yes.
10 on that as the exact amount of cover on the             10     Q. And I know that because or you know that
11 pipeline.                                               11 because why?
12    Q. So when you say that the pipe is                  12     A. The GPS coordinates on the right-hand
13 approximately four feet below ground, which you say 13 side correspond to the GPS coordinates of the tree.
14 several times in some of the statements you have        14     Q. Where are the GPS coordinates for the
15 signed, where are you getting that information          15 tree?
16 from?                                                   16     A. I was supplied those in an email from
17    A. Francis Stone.                                    17 Francis Stone.
18    Q. And where is Francis Stone getting that           18     Q. And those correspond to the latitude and
19 from?                                                   19 longitude columns --
20    A. I do not know.                                    20     A. Yes.
21    Q. So Francis Stone told you it was four             21     Q. -- is that what you're saying?
                                                 Page 39                                                          Page 41
 1   feet below ground?                              1            A. Yes.
 2      A. That is correct.                          2            Q. So whatever date this Exhibit 10 was
 3      Q. Are there any as-built drawings still in  3          generated, does it indicate any issues or concerns
 4   existence regarding this pipe?                  4          with the pipe that's located on the Haases'
 5      A. I do not know.                            5          property?
 6      Q. You told me you have not been out to this 6            A. It indicates there's a tap at the 12
 7   site, correct?                                  7          o'clock position.
 8      A. That is correct.                          8            Q. Other than the tap, which we'll talk
 9      Q. So when was the last time the smart PIG 9            about in a second, is there any other data here
10   was sent through the pipe?                     10          which indicates to you that there's a problem with
11      A. I do not know.                           11          the pipe?
12      Q. You're looking at Exhibit Number         12            A. No.
13   10 --                                          13            Q. So other than this tap, which we'll talk
14      A. That is correct.                         14          about in a second, the survey, this survey by the
15      Q. -- and what is this document?            15          smart PIG indicates that there's no need to access
16      A. It's a screen shot from the PIG data.    16          or repair this current pipe on the Haases'
17      Q. But you don't know what date this was 17             property?
18   taken?                                         18            A. I agree with that.
19      A. No. I was hoping it was in the header,   19            Q. So what is this tap? What is a tap?
20   but it, it was only on the cover sheet for the 20            A. A tap is a branch connection to a
21   entire report.                                 21          pipeline, usually to a distribution system or a

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 1 commercial customer, and the PIG says there's a tap         1    Q. S-M-Y-S, what's that? That's the same
 2 at the 12 o'clock position.                                 2 number.
 3    Q. So this, this is another pipe that                    3    A. Specified Minimum Yield Strength.
 4 actually connects with the main pipe?                       4    Q. Okay. And then the other, next
 5    A. Yes.                                                  5 description on the Feature Type is metal loss.
 6    Q. And when you say the 12 o'clock position,             6 What is that referring to?
 7 you mean it's right above the pipe?                         7    A. Okay. So the metal loss is telling
 8    A. Yes, right above the pipe.                            8 you -- the first one happens to be external, and
 9    Q. And there is a column here, Feature Type              9 it's ten percent. So it's telling you ten percent
10 obviously, that the word tap appears underneath.           10 of the wall thickness is not there on the outside
11 And this column Feature Type has a variety of              11 of the pipe.
12 descriptions. What is a girth weld? What is that?          12    Q. And then if we go down that column, we
13    A. Where you join two sticks of pipe                    13 come to an entry, Above-Ground Marker?
14 together, and you weld it around the girth.                14    A. Yes.
15    Q. Okay. So this first line entry then on               15    Q. What is that referring to?
16 this document is giving me data regarding the              16    A. Part of the PIG'ing process, we put
17 connection point between two pipes?                        17 above-ground markers typically -- it depends on the
18    A. Are you referring to the --                          18 length of the run, but typically every two miles,
19    Q. Just the very first, the very first line             19 and so it's a way of tracking where your PIG is.
20 entry column or -- excuse me. I misspoke. The              20    Q. Okay.
21 very first row.                                            21    A. The above-ground marker will tell you
                                                    Page 43                                                          Page 45
 1    A. The very first row is the header.                     1 exactly what time the PIG went by --
 2    Q. No. Well, I'm -- you are correct. I                   2    Q. All right.
 3 stand corrected. The second row --                          3    A. -- you know, because sometimes it doesn't
 4    A. The --                                                4 make it to the next marker, and you need to know
 5    Q. -- is telling me that, something about                5 where to start looking.
 6 the connection between two pipes at that point?             6    Q. To see whether it stopped?
 7    A. I'm still not following you. So the                   7    A. (Nodding head yes.)
 8 first column is the upstream girth weld, and then           8    Q. That's a yes?
 9 the second column is how long that stick of pipe is         9    A. Yes, sir.
10 until you get to the next girth weld.                      10    Q. And what is a manufacture indication?
11       There's random lengths of pipe, 39.86                11 What is that referring to?
12 feet, 39.93 feet, and they vary, and it counts the         12    A. It could be a wall loss that does not fit
13 welds in-between, and it measures the length of the        13 the mold of corrosion. It may be -- it looks like
14 joint of pipe.                                             14 someone took a spoon and just spooned out a little
15    Q. So you go across the document --                     15 steel. It's something that happened to the steel
16    A. Okay.                                                16 while it was being manufactured. It could be a
17    Q. -- and it says Girth Weld, right?                    17 lamination.
18    A. Yep.                                                 18    Q. Okay. Then we get down to the tap. Now,
19    Q. And then there's some data entries, wall             19 help me understand, this report, which is
20 thickness?                                                 20 generating a description of the component, if you
21    A. Yes.                                                 21 will, of the pipe that's being analyzed, the smart

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 1 PIG is, is transmitting some sort of data to a               1 a, it's a connection into the pipe --
 2 software program which translates that software              2    A. Yes.
 3 information into these expressions, if you                   3    Q. -- so that the gas can go somewhere else?
 4 understand what I'm trying to ask?                           4    A. Yes.
 5    A. Can you break it down to one question at               5    Q. So clearly the -- I don't want to say
 6 a time?                                                      6 clearly. Gas is not coming out of that tap now.
 7    Q. I, I like compound questions. I don't                  7 We know that, right?
 8 know why. But what I'm trying to understand is, is           8    A. There's no gas escaping that pipe at that
 9 how does, how does the designation of what the item          9 location.
10 is appear in this document? It's not being                  10    Q. So does the presence of this inoperable
11 manually entered by a data operator, right?                 11 tap present any sort of safety risk at this point
12    A. It is not manually entered.                           12 in time that you know of?
13    Q. Okay. So the, whatever software program               13    A. I have concerns because it's at the 12
14 is running this thing is giving you these answers           14 o'clock position, so we thought we had four feet of
15 here, right?                                                15 cover. I don't know if the tap is six inches, one
16    A. Yes.                                                  16 foot, two feet, three feet.
17    Q. And this is -- and so it's based upon                 17    Q. Well, but why would the cover matter if
18 whatever data it's receiving or has received from           18 the pipe is not, doesn't have any gas in it?
19 the smart PIG?                                              19    A. Oh, no. There -- the branch connection
20    A. Yes.                                                  20 would have gas in it to the end of that branch
21    Q. And some data, whatever data it got, told             21 connection, so yes.
                                                     Page 47                                                          Page 49
 1 the computer that I translate that into being a tap          1    Q. Okay.
 2 located on the pipe?                                         2    A. If it was a three-feet tap, you have a
 3    A. Yes.                                                   3 dead leg there with pressure.
 4    Q. Is it possible that the, that the program              4    Q. I got you. I got you. So normally the
 5 that was written for this software to translate              5 tap would be sealed off at the top, obviously?
 6 this data into the English language, could it have           6    A. That is correct.
 7 misinterpreted the data?                                     7    Q. Okay. But --
 8    A. Anything is possible, and I have asked                 8    A. If it's not in use.
 9 for clarification from our people that run the               9    Q. If it's not in use. Could the seal,
10 inland, in-line inspection tool program to dig              10 though, be where the, where it connects with the
11 deeper and get back to me, and I haven't heard              11 main pipe, too?
12 anything yet.                                               12    A. I suppose anything is possible. I've
13    Q. On the tap?                                           13 never seen one.
14    A. Yes.                                                  14    Q. Like that?
15    Q. And you asked them to dig deeper into it              15    A. Yes, sir.
16 because why? Were you --                                    16    Q. And where, where is this tap in
17    A. I'm curious.                                          17 relationship to the tree?
18    Q. Curious why there would be a tap there?               18    A. The PIG says it's at the exact same GPS
19    A. Yes.                                                  19 coordinate that Francis Stone gave me of the tree.
20    Q. I was curious, too, because, again, being             20    Q. So it's sitting underneath the tree?
21 just a layman, if I understood you correctly, it's          21    A. Yes, as far as I know.

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 1     Q. And you've -- what are -- the people that                 1    Q. That it was installed initially for, to
 2 you've asked to look into this, what was the name                2 service some other?
 3 of the department? You gave me the name, and I                   3    A. Um-hum, (Nodding head yes.)
 4 missed it. The in-line?                                          4    Q. But clearly, it would have been
 5     A. In-line inspection.                                       5 installed -- when I say clearly, strike that.
 6     Q. Yes. What are they going to do to verify                  6         But likely it was installed when the pipe
 7 or look further into this tap?                                   7 was installed in '55, right?
 8     A. Dig deeper and get the raw data that                      8    A. That is a reasonable assumption.
 9 caused the computer program to label it a tap.                   9    Q. So if it's been there since 1955,
10     Q. When did you make that request?                          10 regardless of the length of the tap, does it really
11     A. I don't know.                                            11 present any risk at this point in time?
12     Q. Was it within the last month?                            12    A. There's now a red maple tree above it,
13     A. I don't know.                                            13 and, yes, roots damage coating.
14     Q. Okay.                                                    14    Q. All right. We'll get to the roots in a
15     A. It was this year.                                        15 second. What is an ACVG testing? ACVG testing?
16     Q. Okay. So you're expecting a report back                  16    A. Alternating current voltage gradient.
17 at some point on that?                                          17    Q. And that's done for the, for what, I'm
18     A. Yes.                                                     18 sorry?
19     Q. So it sounds to me like you had the same                 19    A. To test your coating.
20 suspicion I did initially that, perhaps, there was              20    Q. The coating on the pipe?
21 some, something about the data that might not be                21    A. Yes.
                                                         Page 51                                                          Page 53
 1 accurate?                                                        1    Q. How is that test done?
 2        MR. DINGMAN: Object to the form of the                    2    A. You put a, an alternating current on the
 3 question.                                                        3 pipe, and you measure where it leaves the pipe.
 4        THE WITNESS: Well, actually, I wanted                     4    Q. And is that testing done for the pipe
 5 the raw data so it would tell me if it's a one-inch              5 that's located on the Haases' property?
 6 tap, a two-inch tap --                                           6    A. I do not know.
 7 BY MR. ROST:                                                     7    Q. Okay. So we've done an aerial
 8     Q. Oh, I see.                                                8 inspection, close interval testing, the smart PIG,
 9     A. -- a six-inch tap --                                      9 maybe, maybe not ACVG testing. Any other
10     Q. Okay. I'm with you.                                      10 inspections that are done on the pipe?
11     A. -- a 26-inch tap. I don't know what's                    11    A. The obvious one that comes to mind is the
12 there.                                                          12 DCVG.
13     Q. And I guess we're speculating here, but                  13    Q. DCVG?
14 why would there be a tap there? What purpose would              14    A. Yes.
15 it serve?                                                       15    Q. I have not seen that one before. What's
16     A. Generally in the 50's when a pipeline                    16 that?
17 went through your farm, if you asked for a service              17    A. You put a direct current on the pipe and
18 connection to run your house and your barn and all              18 measure the voltage gradient.
19 of that, then you got a tap. And, you know, now                 19    Q. Is that part of the cathodic protection,
20 the farms are subdivisions, and so that may be a                20 or no? Something different?
21 possible explanation.                                           21    A. They're all related.

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 1    Q. They're all related. When you say                    1 Interrogatories and your expert reports, it stated
 2 the -- when you use the word all, what are you             2 several times that Columbia Gas has no idea how
 3 referring to?                                              3 deep the roots are?
 4    A. Pipe-to-soil potentials, CIS, ACVG, DCVG,            4    A. That is correct.
 5 pipe coating.                                              5    Q. And is Columbia Gas aware of any
 6    Q. Okay. Just going back to the tap for a               6 technology or equipment that enables someone to
 7 section, for a second. There would be reports              7 actually measure the depth of the tree roots?
 8 similar to this for the prior smart PIG                    8    A. The exact depth of the tree roots?
 9 inspections, would there not be?                           9    Q. Yes.
10    A. I don't know. There -- PIG'ing has                  10    A. Not the exact depth of the tree roots.
11 evolved. It wasn't -- you know, we didn't have            11    Q. Well, a pretty good approximation?
12 smart PIGs since the beginning of time. I've only         12       MR. DINGMAN: Objection.
13 seen this one PIG run. I don't know what, if there        13       THE WITNESS: Define pretty good.
14 is a previous one.                                        14 BY MR. ROST:
15    Q. And we don't even know the date on this?            15    Q. Within six inches of being accurate?
16    A. I have it in my folder, but, and I can              16    A. I do not know.
17 get that for you. I just don't have it.                   17    Q. Have you ever heard of ground,
18    Q. Was it five years ago? Was it a year                18 ground-penetrating radar?
19 ago? You don't know?                                      19    A. Yes.
20    A. I don't know.                                       20    Q. Have you had any experience using that?
21    Q. So would it be worth -- when you're doing           21    A. Yes.
                                                   Page 55                                                          Page 57
 1 your due diligence on this tap, would it be                1    Q. And is there any reason why that would
 2 worthwhile to look for whatever records exist from         2 not be an appropriate test to run on this tree to
 3 seven years prior to this to see whether or not the        3 see where the roots are?
 4 prior --                                                   4    A. My experience has been with steel, not
 5    A. That request has been made.                          5 wood, but I did see an email with a report that, I
 6    Q. But you don't have the answer to that?               6 believe, came from you all, and it said that it did
 7    A. (Shaking head no.)                                   7 not pick up roots smaller than a half inch,
 8         MR. DINGMAN: You have to respond                   8 plus -- approximately a half inch. I think it was
 9 verbally.                                                  9 in millimeters or centimeters, so it's not going to
10         THE WITNESS: I don't have an answer for           10 pick up all of the roots.
11 that.                                                     11    Q. So that report indicated whatever roots
12 BY MR. ROST:                                              12 it saw did not extend more than 27 inches; do you
13    Q. Okay. And let's just assume                         13 recall that in the report?
14 hypothetically that, that you find that report and        14    A. I don't recall, but --
15 it comes back and shows that there's no tap there.        15    Q. So, again, why, why is not
16 Then we have a real quandary, don't we?                   16 ground-penetrating radar an acceptable methodology
17    A. Then I really want to know what's there,            17 to at least have a reasonable estimation of where
18 what caused the PIG to -- you know, I need to look        18 the roots are?
19 at the raw PIG data.                                      19    A. I don't know.
20    Q. Okay. So let's talk about the roots for             20    Q. So you don't have an opinion one way or
21 a little bit. In reading the Answers to                   21 the other on that?

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 1    A. Only when it comes to steel.                            1 going to ask you to agree with me. I'm saying if
 2    Q. Has Columbia Gas consulted with an                      2 you knew the tree roots were two feet deep and
 3 arborist in terms of obtaining any opinion as to              3 there was four feet of dirt between the tree roots
 4 how deep these roots go for this type of tree?                4 and the pipe and this tap wasn't there, would the
 5    A. I do not know.                                          5 tree still present a risk?
 6    Q. So you indicated you have not been to the               6    A. Yes.
 7 property. So for purposes of this question, I want            7    Q. Because why?
 8 you to assume the following: If you go out there,             8    A. Since we're hypothetical, I run a PIG.
 9 you'll see that the ground actually is elevated               9 The gentleman running, perusing the PIG data calls
10 from the house going down towards the tree as a              10 me. We have an emergency PIG dig. It's at this
11 result of the original construction that was done,           11 location. It's January 10th. It's midnight.
12 so there's, there's an additional, there was an              12 There's two feet of snow. It's going to take
13 additional two feet of dirt added around the                 13 longer to get to this pipe because of that tree.
14 surrounding of the house when it was built, and the          14    Q. Okay.
15 basement was dug out.                                        15    A. A delay is a delay.
16       So if you add the four feet that you                   16    Q. Okay. So you're talking about a
17 think the pipe is down and we add our two feet,              17 situation where you have to get, get down and
18 that gives you six feet of cover there at the                18 extract the, the smart PIG because it has gotten
19 pipeline. And if the tree roots go, at most, 26,             19 stuck?
20 27 inches down, which provides close to almost four 20             A. That could be one scenario. They could
21 feet of coverage, would that affect your assessment          21 be -- the PIG could have gone through, and it could
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 1 in any way as to whether or not this particular               1 say metal loss, external, 95 percent wall loss. We
 2 tree needs to be removed in order to effect, in               2 have to dig it up and repair it immediately.
 3 order to protect the pipe?                                    3    Q. So the risk is the delay in doing that?
 4       MR. DINGMAN: Object to the form.                        4    A. A delay is a risk.
 5       THE WITNESS: So you're asking me if the                 5    Q. So let's talk about the delay then. The
 6 tree is a risk?                                               6 trees that were removed adjacent to the Haases'
 7 BY MR. ROST:                                                  7 property, they were just grounded down to the
 8    Q. Right. Yes.                                             8 stump. The actual root system was not removed,
 9    A. The tree is a risk.                                     9 correct?
10    Q. If there's four feet -- if there's four                10    A. I don't know. I have not been to the
11 feet of dirt between the top of the pipe and the             11 site.
12 tree roots, does the tree present a risk?                    12    Q. With respect to the attempt this time to
13    A. Yes.                                                   13 remove the tree, it was supposed to be just removed
14    Q. Because why?                                           14 down to the stump. The roots were not going to be
15    A. I don't know where the roots are. I                    15 removed, correct?
16 know that there's something at the 12 o'clock                16    A. I believe that's to be the case.
17 position on my pipe. The tree presents a risk.               17    Q. So is that the practice when Columbia Gas
18    Q. For those two reasons?                                 18 finds trees that are encroaching on the right of
19    A. Yes.                                                   19 way that they simply remove the tree down to the
20    Q. So if you knew that the tree roots were                20 stump and not the roots themselves?
21 only two feet deep, if you knew that -- I'm not              21    A. The roots usually decompose without a

                                                                                                    16 (Pages 58 - 61)
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 1 tree on top of them.                                         1 in the vicinity which is ejecting itself into the
 2    Q. Over time?                                             2 atmosphere through the ground, right?
 3    A. Yes.                                                   3    A. Um-hum.
 4    Q. So in terms of removing the tree itself,               4    Q. Yes?
 5 have you actually been involved in the actual work           5    A. Yes. I'm sorry.
 6 of removing a tree in order to access the pipe?              6    Q. Do you shut the gas down in that
 7    A. Yes.                                                   7 situation, or what do you do?
 8    Q. And how often?                                         8    A. It depends on the leak, and it depends on
 9    A. Unfortunately, once a year --                          9 who the gas is supplying, and it depends on the
10    Q. And --                                                10 risk to people and property.
11    A. -- approximately.                                     11    Q. Well, would you -- so there would be
12    Q. Who does -- who does that work for                    12 situations where you would, you would dig down to a
13 Columbia Gas? Do they -- do you have your own               13 pipe and still allow the gas to go through the pipe
14 department and crew that does this, or do you               14 and, and escape while you're doing the digging?
15 contract it out?                                            15    A. Yes.
16    A. Contract it out, in my experience.                    16    Q. This sounds really dangerous to me to do
17    Q. And in this particular situation, the                 17 that. What am I missing there?
18 contractor that, that Columbia Gas was using was a          18    A. It can be dangerous.
19 company called SavATree? Are you familiar with              19    Q. While in these incidents that you talk
20 them?                                                       20 about where you say about once a year you have to
21    A. I have heard of SavATree.                             21 remove, remove a tree, is that, has that been in
                                                     Page 63                                                          Page 65
 1    Q. Has Columbia Gas had any discussions with              1 response to gas leaking through the pipe?
 2 SavATree or any other contractor regarding how long 2             A. One has been.
 3 it would take to actually remove this tree if a, if          3    Q. And in that case, was the gas turned off,
 4 a sudden need came to access the pipe?                       4 or did you dig down with the gas going?
 5    A. I do not know.                                         5    A. The section of pipeline was shut in, and
 6    Q. I saw in your, your, either your                       6 the gas was allowed to vent.
 7 Affidavit or your Answers to Interrogatories or              7    Q. I'm sorry, I don't understand that. The
 8 your expert report, or all three of them, your               8 gas was turned off or --
 9 opinion that it would take a couple days to develop          9    A. Yes, the gas was turned off.
10 a plan to remove this tree in order to access the           10    Q. Okay.
11 pipe if the need arose. Did I fairly accurately             11    A. It takes a large amount of time -- it
12 summarize what you said?                                    12 depends on the diameter of the pipeline, the length
13    A. Depending upon the circumstances.                     13 of the pipeline, the gas pressure. It takes a
14    Q. Depending upon the circumstances. And                 14 large amount of time to dissipate the gas.
15 let's talk about the circumstances.                         15    Q. Well, in this particular case, the pipe
16       What circumstances would result in a, in              16 on the Haases' property, what information don't you
17 a several-day delay in removing the tree?                   17 have right now that you would need to determine
18    A. Gas blowing, January, midnight, snow on               18 whether or not you had to shut the pipe down, the
19 the ground.                                                 19 gas down?
20    Q. So if you had a situation where gas was               20    A. Can you rephrase that?
21 blowing, which I guess means there's an active leak         21    Q. Sure. I'm trying to understand

                                                                                                    17 (Pages 62 - 65)
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 1 why -- assuming the scenario that there's a gas              1 the contractors, what did you discuss with them?
 2 leak and the gas is blowing out of the ground,               2    A. Tools, timing.
 3 don't you have the information in your possession            3    Q. And what did the contractors tell you in
 4 now to know whether or not you're going to have to           4 terms of timing to remove the tree?
 5 shut the gas down or not?                                    5    A. It depends on the tree.
 6    A. It depends on the size of the leak.                    6    Q. So -- and then just to be clear, with
 7    Q. A slow leak versus a big leak?                         7 respect to this particular tree, Columbia Gas has
 8    A. Yes.                                                   8 not consulted with any contractor to obtain an
 9    Q. So other than a slow or a big leak, you                9 expert opinion from them as a tree specialist, if
10 have all of the other information, right? You know          10 you will, how long it would take them to remove
11 the size of the pipe. You know who it serves, you           11 this tree, if need be, on an expedited basis?
12 know the area.                                              12    A. I do not know.
13    A. Well, it serves Maryland, Virginia,                   13       MR. ROST: How are we doing on time here?
14 Washington, D.C., Pennsylvania. So it                       14 Let's go off the record.
15 depends. You know, is there another pipeline that           15       (Recess taken -- 12:32 p.m.)
16 can take the load? There's a lot of variables.              16       (After recess -- 12:43 p.m.)
17    Q. But you know those variables now?                     17 BY MR. ROST:
18    A. No. They're changing as we speak. The                 18    Q. Cathodic protection, so explain to me, if
19 load on the pipeline system, it's not constant.             19 you can, to a layman how that works exactly.
20    Q. Does Columbia Gas have -- does -- excuse              20    A. Cathodic protection is a technique for
21 me.                                                         21 controlling the corrosion on a metallic surface by
                                                     Page 67                                                       Page 69
 1       Does Columbia Gas have in place a plan,                1 making that surface the cathode of an electric
 2 an emergency plan that sets forth the protocol for           2 chemical cell.
 3 accessing a pipe in an emergency situation?                  3    Q. So if I understand it correctly then at
 4    A. Yes.                                                   4 various intervals along this pipeline, there's an
 5    Q. And does that plan provide for the                     5 electric cell somewhere?
 6 contingency that there may be a tree that has to be          6    A. The -- an electrode chemical cell
 7 removed?                                                     7 consists of an anode, a cathode, a metallic path
 8    A. I do not know.                                         8 and an electrolyte. We want the pipeline to be the
 9    Q. And has Columbia Gas talked with or                    9 cathode.
10 consulted with any contractors about how long it            10    Q. But where is the electrical current
11 would take them to remove the tree and roots in             11 coming from then?
12 order to access the pipe?                                   12    A. There's an electric potential in the
13    A. Repeat that one more time.                            13 earth.
14    Q. Has Columbia Gas consulted with any                   14    Q. Okay. So there's not -- these other
15 contractors, experienced contractors in terms of            15 components that you, you mentioned -- I'm sorry.
16 how long it would take them to remove the maple             16 Say it -- you got the cathode, which is the pipe,
17 tree if an immediate need arose to do so?                   17 and then you got the anode?
18    A. I have contacted contractors that I have              18    A. Um-hum. Yes. Anode.
19 used on emergency PIG digs, and we discussed trees. 19            Q. Where is that?
20 We did not discuss this red maple tree.                     20    A. Anode? It's an anode.
21    Q. And when you say you discussed trees with             21    Q. What is that exactly?

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 1      A. It's the -- do you boat?                           1     A. Yes.
 2      Q. No.                                                2     Q. I asked it alternatively. What's the yes
 3          MR. HAAS: It's the sacrificial cathode.           3 to?
 4          THE WITNESS: It's the sacrificial anode.          4     A. Yes. The anodes were installed --
 5          MR. HAAS: Anode.                                  5 anodes, they waste away. They deplete, and so we
 6          THE WITNESS: Yeah. the anode is the               6 install new anodes.
 7   item that is going to waste away and sacrifice           7     Q. Okay.
 8   itself for the cathode.                                  8     A. So, yes, there were anodes in the 50's,
 9   BY MR. ROST:                                             9 and as your readings go down, you replace the
10      Q. And what were the other components of             10 anodes.
11   this process?                                           11     Q. Okay.
12      A. A metallic path and an electrolyte.               12     A. If there's for some reason replenishing
13      Q. Did you say metallic pad?                         13 the anodes is still insufficient, you make more
14      A. Path.                                             14 anode beds.
15      Q. I'm sorry, metallic pad or path?                  15     Q. And these are located below ground,
16      A. Path.                                             16 right?
17      Q. And the fourth one?                               17     A. Yes.
18      A. Electrolyte.                                      18     Q. So you have to dig down and, and put them
19      Q. And what is the metallic path? What is            19 in and then fill the dirt back up?
20   that referring to?                                      20     A. Yes. It would be easier if you boated.
21      A. The wire that connects the pipeline to            21     Q. I have friends that have boats, but I
                                                   Page 71                                                            Page 73
 1 the anode bed.                                             1 will not buy a boat. I can assure you.
 2    Q. Anode bed you're saying?                             2       MRS. HAAS: Smart man.
 3    A. Yeah. There are multiple anodes.                     3 BY MR. ROST:
 4    Q. Well, that's sort of where I, my first               4    Q. And you indicated that there's a
 5 stupid question started. These anode beds, if I            5 department at Columbia Gas that would, that would
 6 understand, is an electrical wire that goes from           6 know how many anode beds there were on the Haases'
 7 that to the pipe, right?                                   7 property?
 8    A. Yes.                                                 8    A. The anode bed may or may not be on their
 9    Q. Okay. And where -- how frequently are                9 property.
10 those located along the pipeline?                         10    Q. Okay.
11    A. It depends.                                         11    A. I don't know the configuration of the
12    Q. Okay. Do we know for this particular                12 anodes at that location.
13 pipe on the Haases' property how many anodes there 13           Q. And we had talked earlier about the close
14 are?                                                      14 interval survey done at the testing station which
15    A. I do not.                                           15 related to figuring out whether there was some
16    Q. Is there a way of knowing that? Is that             16 issue with the cathode, cathodic protection, right?
17 documented somewhere?                                     17    A. Yes.
18    A. Yes. Our corrosion engineers know that.             18    Q. And would that testing, the close
19    Q. Now, were they -- were these installed at           19 interval testing tell you whether or not there's a
20 the time the pipe was originally installed or done        20 problem in the, with the pipe itself or just with
21 later, the anode paths?                                   21 the connection between the anode bed and the pipe?

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 1    A. It would tell you there's a problem, and              1    Q. It's sort of like when my wife says she's
 2 you need to investigate it further.                         2 talked to the kids. I say, Did you talk to them,
 3    Q. Exactly what, you're not sure?                        3 or did you text them? And inevitably it's text.
 4    A. Correct.                                              4        So Exhibit Number 2 in that stack in
 5    Q. And how does -- how does this particular              5 front of you, it's a letter dated May 27th -- it
 6 tree on the, on the Haases' property interfere with         6 will be in here, sir. Exhibit Number 2, a letter
 7 the cathodic protection of the pipe on their                7 dated May 27th, 2010.
 8 property?                                                   8        MR. DINGMAN: That's it.
 9    A. I do not know where the roots are in                  9 BY MR. ROST:
10 relation to my coating, in relation to the surprise        10    Q. If you'll just turn to the last
11 tap.                                                       11 page -- actually, it's not the last page. It's the
12        Also, to do a proper close interval                 12 second page of that document.
13 survey, your wire has to be directly above the             13        The third paragraph from the bottom
14 pipeline, in line with the pipeline.                       14 reads, "Following the ROW clearing, we will be
15    Q. So you indicated you don't know how close            15 conducting an integrity test of our pipeline. This
16 the, the roots are. Is the proximity of the roots          16 test is a close interval survey and is noninvasive
17 to the pipe a factor?                                      17 to your property. The test involves running a wire
18    A. Yes.                                                 18 along the ground to collect pipeline data, excuse
19    Q. So the farther away the roots are from               19 me, pipeline condition data."
20 the pipe, the less likely the tree would interfere         20        So it's fair to assume based upon this
21 with the cathodic protection?                              21 letter that that close interval survey test was
                                                    Page 75                                                           Page 77
 1    A. If the tree was 50 foot away, it's less               1 done back in 2010?
 2 likely to interfere.                                        2    A. I mean, I hate to assume that. I, I do
 3    Q. And how frequently are those close                    3 not know.
 4 interval surveys done on their property?                    4    Q. So --
 5    A. Pipe to soil at the test stations are                 5    A. I would like to think it was done, but I
 6 done annually, and close interval surveys are done          6 do not know.
 7 if the annual surveys indicate that you need to do          7    Q. If the presence of the tree had prevented
 8 them.                                                       8 Columbia Gas from conducting that test properly,
 9    Q. And you don't -- if I recall correctly,               9 would there have been a record made of that
10 you don't know sitting here today when the last            10 somewhere electronically or otherwise?
11 close interval survey was done, if ever?                   11    A. I do not know. I would, I would like to
12    A. I do not know.                                       12 think, yes, but I do not know.
13    Q. And the annual testing at the testing                13    Q. Are you aware of any studies done by any
14 stations, there's a written report of those                14 electronic -- excuse me.
15 results?                                                   15        Are you aware of any studies done by
16    A. The individual collects the data and                 16 companies for purposes of determining whether or
17 plugs it into the work management system, so I             17 not tree roots do, in fact, impair or affect the
18 would say there's an electronic report.                    18 ability to provide cathodic protection?
19    Q. Well, in this day and age when I say a               19    A. I am not aware of any studies.
20 written report, I mean an electronic report.               20    Q. So, again, because we're here for a
21    A. Yes, sir.                                            21 corporate deposition -- well, never mind. Strike

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 1 that.                                                         1 they?
 2         Exhibit Number 7, if you would dig that               2         MR. DINGMAN: Objection. Object to the
 3 out. It looks like this (indicating). One of the              3 form.
 4 subject areas of the deposition examination was to            4         THE WITNESS: When I run a PIG and the
 5 testify as to the procedure followed by the                   5 PIG tells me I have a problem with my pipe, I go
 6 Plaintiff in locating and producing the documents             6 fix the pipe, and I document the pipe repair. I
 7 responsive to the Defendants' discovery requests.             7 don't document the tree removal.
 8         Are you familiar with what steps were                 8 BY MR. ROST:
 9 actually taken by Columbia Gas to respond to our              9    Q. Well, you may not document the tree
10 document requests in this proceeding?                        10 removal, but Columbia Gas is retaining a contractor
11    A. I believe so.                                          11 who is removing the tree, correct?
12    Q. So request number 1 is asking about                    12    A. When I respond to a PIG dig, I'm not
13 documents pertaining to the procedures for                   13 scheduling SavATree to remove a tree. I have a
14 inspecting and maintaining the pipeline.                     14 pipeline contractor, and we are doing everything we
15         Were any documents -- we've identified               15 can to protect our facility, protect public safety
16 many electronic documents here today regarding test 16 and protect the environment.
17 results that have not been produced for the last             17    Q. All right. But my question is you
18 ten years.                                                   18 testified that -- I believe you said approximately
19         Are there documents in existence prior to            19 once a year you were involved in removal of trees
20 ten years that would tell me what testing and                20 or a tree in order to access a pipe, right?
21 inspections were done on the pipeline?                       21    A. That is correct.
                                                      Page 79                                                         Page 81
 1    A. So you're asking about documents that are               1    Q. Who is removing the tree?
 2 greater than ten years old?                                   2    A. It's not SavATree.
 3    Q. Yes.                                                    3    Q. It's someone --
 4    A. I don't know.                                           4    A. The nearest pipeline --
 5    Q. In request number 3, we asked for                       5    Q. It's, it's someone that Columbia Gas has
 6 documents regarding similar, incidents similar to             6 retained to do that, right?
 7 the red maple tree, and no documents have been                7    A. A pipeline contractor.
 8 produced presumably because there are no other                8    Q. Yes. So there must be documents that
 9 examples of having to remove a tree at the same               9 Columbia Gas has regarding retaining those
10 location, the same depth of pipeline and length of           10 contractor's services, the scope of work and what
11 tree roots, but I assume you have documents,                 11 they're going to do in removing the tree, right?
12 Columbia Gas has documents with respect to the               12    A. I don't know. It -- it's, it's a
13 other tree-removal procedures you talked about?              13 pipeline repair, and I'm willing to venture that
14         MR. DINGMAN: Object to the form.                     14 the tree is not mentioned specifically.
15         THE WITNESS: I'm not familiar with any               15    Q. What about SavATree here and this
16 other red maple tree. And I've been on site for              16 particular, and this particular problem who has
17 removing trees, but I don't have any documents.              17 been out to the site and was going to remove the
18 BY MR. ROST:                                                 18 tree, are there not any communications between
19    Q. Well, Columbia Gas certainly must                      19 Columbia Gas and SavATree?
20 maintain internal records relevant to the                    20    A. I do not know.
21 procedures followed to remove those trees, didn't            21    Q. When the Columbia Gas representatives

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 1 encountered Mr. Haas's opposition and refusal to             1 to replace it.
 2 allow access to their property to remove the tree,           2    A. And in this scenario, I'm using a
 3 were there not any documents, emails, electronic             3 backhoe?
 4 messages, memos of any sort generated internally             4    Q. Right, because the pipe is, because the
 5 that reported on that problem and conflict?                  5 pipe is --
 6    A. I do not know.                                         6    A. Right. But if the PIG tells me I've got
 7    Q. Exhibit Number 4 On page 5 in the first                7 99-percent wall loss, then I'm not using a backhoe
 8 full paragraph, the second sentence, "Since                  8 above my pipe or anywhere close to my pipe.
 9 Columbia does not know whether the root system is            9    Q. Even if it's six feet down?
10 entangled with or in contact with the pipe,                 10    A. Yes.
11 Columbia must assume such a scenario exists and             11    Q. Because why?
12 must act accordingly." Do you see that?                     12    A. I don't like gas leaks.
13    A. Yes.                                                  13    Q. Well, we just -- the question was about
14    Q. And, and you agree with that statement?               14 when there wasn't a gas leak.
15       (Whereupon, there was a pause for                     15    A. But I just said there was 99-percent wall
16 document examination.)                                      16 loss.
17       THE WITNESS: Yes.                                     17    Q. I guess I don't know what that means.
18 BY MR. ROST:                                                18 Does that mean that there's a gas leak --
19    Q. And then it goes on to say, Furthermore,              19    A. That means between new and high-pressure
20 because the tree was in a few feet of the pipe,             20 natural gas is a piece of steel as thin as that
21 Columbia cannot use equipment, such as a backhoe, 21 piece of paper.
                                                     Page 83                                                        Page 85
 1 to dig out the tree because such operation could             1    Q. Do the pipes ever actually deteriorate to
 2 damage the pipe. Is that a correct statement even            2 that point before you know?
 3 if the pipe is six feet below the tree?                      3    A. I have been in a ditch with a 96-percent
 4    A. I do not know that the pipe is six feet                4 wall loss.
 5 below the tree.                                              5         MR. ROST: Let's mark this.
 6    Q. I understand that. I'm asking you                      6         (Whereupon, Kvasnicka Deposition Exhibit
 7 hypothetically would that still be a true statement          7 Number 11, Columbia Gas Transmission, LLC's
 8 if the pipe was six feet below the ground where the          8 Supplemental Response to Defendants' First Set of
 9 tree is located?                                             9 Interrogatories, marked for identification.)
10       (Whereupon, there was a pause for                     10 BY MR. ROST:
11 document examination.)                                      11    Q. Do you recognize -- Number 11 is
12       THE WITNESS: It depends.                              12 Supplemental Answers to Interrogatories which, if I
13 BY MR. ROST:                                                13 understand correctly, essentially amounts to your
14    Q. It depends on what?                                   14 expert report in the case.
15    A. Is there a gas leak?                                  15    A. Um-hum.
16    Q. Let's assume there is no gas leak in this             16    Q. On page 7 in the middle there you write,
17 scenario. Would the fact that the pipe is six feet          17 "Tree roots can cause a break in some types of
18 below ground change that conclusion?                        18 coatings, and they can also shield the current from
19    A. So the scenario is?                                   19 flowing on to the pipe thereby rendering the
20    Q. You want to get to the pipe because the               20 cathodic protection deficient or inadequate at that
21 wall is thinning. It's deteriorating, and you want          21 specific location."

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 1        How close do the tree roots have to be to               1 and go down and physically eyeball the top of pipe
 2 the pipe in order to cause that problem?                       2 and then measure the amount of cover. That would
 3    A. I do not know.                                           3 be one exact way of doing it.
 4    Q. On page 6 of your report above the last                  4    Q. Okay. Any other ways?
 5 paragraph, the sentence that starts, "Additionally,            5    A. Larger test pits. If there is not a
 6 because of the size, height and age of the tree,               6 rocky soil, we can bore a hole and measure.
 7 there would be substantial concern that roots from             7    Q. Bore a hole. B-O-R-E?
 8 the tree could be wrapped around the pipeline."                8    A. B-A-R.
 9        But you have actually no factual basis                  9    Q. And what's that, just drilling a hole
10 whatsoever to conclude one way or the other where             10 down?
11 these roots are in relationship to the pipe,                  11    A. Pushing a steel rod.
12 correct?                                                      12    Q. And do you know what --
13    A. I have not dug up the tree to measure the               13    A. It depends on the soil.
14 tree roots, right. I would love to.                           14    Q. And do you know what the soil is at the
15    Q. Right. Nor has Columbia Gas consulted                   15 Haases' house?
16 with or retained an experienced arborist who could            16    A. I do not.
17 offer some insight as to how deep these roots are             17    Q. Assuming that the soil is not rocky and
18 for this type of tree, right?                                 18 is suitable for that test, how long would that test
19    A. I'm sorry, that was a question?                         19 take?
20    Q. Yes. And Columbia Gas has not retained                  20    A. Less than a day.
21 or consulted an arborist for their opinion as to              21    Q. Is that a test that Columbia Gas performs
                                                       Page 87                                                       Page 89
 1 how deep these roots go for a red maple tree?                  1 from time to time?
 2    A. I do not know. I just know that tree                     2    A. Yes.
 3 roots are a concern that impact the coating, that              3    Q. Any other methodologies?
 4 impacts the cathodic protection. I'm just trying               4    A. I'm sure there's things that I'm not
 5 to preserve the steel that's holding in the                    5 aware of.
 6 high-pressure natural gas.                                     6         MR. ROST: All right. Let's take a
 7    Q. And other than digging up the pipe, is                   7 break. I think I'm almost done.
 8 there any way to determine the actual depth to your            8         (Recess taken -- 1:15 p.m.)
 9 satisfaction?                                                  9         (After recess -- 1:19 p.m.)
10    A. The actual amount of cover on the                       10         (Whereupon, Kvasnicka Deposition Exhibit
11 pipeline?                                                     11 Number 12, Pipeline Documentation, marked for
12    Q. Yes, sir.                                               12 identification.)
13    A. I mean, there's vac trucks.                             13 BY MR. ROST:
14    Q. I'm sorry, what?                                        14    Q. Exhibit Number 12, do you recognize this
15    A. Vac trucks. Vacuum trucks.                              15 document?
16    Q. Right.                                                  16    A. Yep.
17    A. You dig a little-bitty test pit. I mean,                17    Q. What is this document?
18 it's just like it says. It's a vacuum on a truck.             18    A. It's what our pipeliners fill out when
19 It's just gargantuan --                                       19 they sometimes visit a job site usually in response
20    Q. Yes.                                                    20 to a Miss Utility ticket.
21    A. -- and you can do a very small test pit                 21    Q. Okay. So this is a document that's

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 1 generated when someone from Columbia Gas goes out                1 it's been there?
 2 to look at the pipe for whatever reason?                         2    A. Unfortunately, there's a lot of
 3     A. Typically in response to a Miss Utility                   3 encroachments. We're a large company with many,
 4 ticket.                                                          4 many, many miles of pipelines, and the
 5     Q. Okay. Do you know what the reference                      5 encroachments are noted, and they're placed in the
 6 here is to 70 feet of plastic conduit, in the                    6 queue to be addressed.
 7 handwriting here?                                                7         MR. ROST: Okay. Mike, I don't have any
 8     A. I see that.                                               8 more questions. I will note for the record, of
 9        (Whereupon, there was a pause for                         9 course, you're going to fix the Interrogatories and
10 document examination.)                                          10 get a sworn answer to that.
11        THE WITNESS: So I'm taking a guess at                    11         I'll read the transcript when it comes
12 this. Someone called in a Miss Utility ticket for               12 in, but my impression from the deposition is that
13 communication cable.                                            13 there was a tremendous amount of I don't know in
14 BY MR. ROST:                                                    14 response to subject areas where there should have
15     Q. I see the cable reference.                               15 been an answer, and there are a variety of
16     A. Yes. So if you had the Miss Utility                      16 documents which I know are in existence that have
17 ticket that this goes with, there would be more                 17 not been produced. And I know you don't agree with
18 information.                                                    18 anything that I've just said, but I just want to
19     Q. And then in the middle of the document,                  19 put it on the record. I'll be following up
20 it has a column, a row. It says Line Located By,                20 afterwards to try to resolve those issues in an
21 and it says, Pipeline locator?                                  21 amicable way.
                                                         Page 91                                                         Page 93
 1     A. Yeah.                                                     1         MR. DINGMAN: Okay.
 2     Q. What is a pipeline locator?                               2         MR. ROST: Thank you, sir.
 3     A. That would be that Metrotech 810 device                   3         MR. DINGMAN: Would you like to read as
 4 or similar.                                                      4 well?
 5     Q. This is signed by the Francis Stone                       5         THE WITNESS: Thank you.
 6 that's been mentioned previously today?                          6         (Whereupon, the deposition of Andrew
 7     A. It looks like it. Yes, sir.                               7 Kvasnicka was concluded at 1:23 p.m., and the
 8     Q. Do you know Mr. Stone?                                    8 reading and signing of the transcript was not
 9     A. I have never physically met him. I get                    9 waived.)
10 emails and phone calls and phone messages.                      10
11     Q. Does Columbia Gas have any plans or                      11
12 intentions to ascertain the exact depth of the                  12
13 pipe?                                                           13
14     A. I don't know.                                            14
15     Q. Does Columbia Gas consider that to be an                 15
16 important piece of information in making its                    16
17 decision to remove the tree, or it doesn't matter?              17
18     A. I don't know. The tree presents a risk                   18
19 and needs to be removed.                                        19
20     Q. Do you have any explanation as to why its                20
21 removal is coming up now after 40 some years that               21

                                                                                                        24 (Pages 90 - 93)
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                                Andrew
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                                                                   of 26 28, 2017
                                                        Page 94                                                            Page 96
 1 State of Maryland                                               1 Columbia Gas Transmission, LLC v. Janet Malin Haas, et al.
                                                                   2 Andrew Kvasnicka
 2 County of Baltimore, to wit:
                                                                   3               ERRATA
 3          I, Michele D. Lambie, a Notary Public of
                                                                   4                   -----
 4 the State of Maryland, County of Baltimore, do                  5 PAGE LINE CHANGE
 5 hereby certify that the within-named witness                    6 ___ ___ ________________
 6 personally appeared before me at the time and place             7 Reason:_______________________________________
 7 herein set out, and after having been duly sworn by             8 ___ ___ ________________
                                                                   9 Reason:_______________________________________
 8 me, according to law, was examined by counsel.
                                                                  10 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 9          I further certify that the examination                11 Reason:_______________________________________
10 was recorded stenographically by me and this                   12 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
11 transcript is a true record of the proceedings.                13 Reason:_______________________________________
12          I further certify that I am not of                    14 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                  15 Reason:_______________________________________
13 counsel to any of the parties, nor related to any
                                                                  16 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
14 of the parties, nor in any way interested in the               17 Reason:_______________________________________
15 outcome of this action.                                        18 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
16          As witness my hand and notarial seal this             19 Reason:_______________________________________
17 1st day of September 2017.                                     20 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
                                                                  21 Reason:_______________________________________
18
                                                                  22 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
19
                                                                  23 Reason:_______________________________________
20                      <%Signature%>                             24 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
21                                                                25 2650653
                                                        Page 95                                                            Page 97
 1 Columbia Gas Transmission, LLC v. Janet Malin Haas, et al. 1 Columbia Gas Transmission, LLC v. Janet Malin Haas, et al.
 2 Andrew Kvasnicka                                                2   Andrew Kvasnicka
 3       INSTRUCTIONS TO THE WITNESS                               3          ACKNOWLEDGMENT OF DEPONENT
 4       Please read your deposition over                          4            I, ______________________, do
 5 carefully and make any necessary corrections.                   5   hereby certify that I have read the foregoing
 6 You should state the reason in the                              6   pages and that the same is a correct
 7 appropriate space on the errata sheet for any                   7   transcription of the answers given by
 8 corrections that are made.                                      8   me to the questions therein propounded,
 9       After doing so, please sign the errata                    9   except for the corrections or changes in form
10 sheet and date it.                                             10   or substance, if any, noted in the attached
11       You are signing same subject to the                      11   Errata Sheet.
12 changes you have noted on the errata sheet,                    12
13 which will be attached to your deposition.                     13   __________         ________________________
14       It is imperative that you return the                     14   DATE               SIGNATURE
15 original errata sheet to the deposing                          15
16 attorney within thirty (30) days of receipt                    16
17 of the deposition transcript by you. If you                    17
18 fail to do so, the deposition transcript may                   18
19 be deemed to be accurate and may be used in                    19
20 court.                                                         20
21                                                                21
22                                                                22
23                                                                23
24                                                                24
25 2650653                                                        25 2650653

                                                                                                               25 (Pages 94 - 97)
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